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                                                                            U.S. DISTRICT COURT
                                                                       EASTERN DISTRICT OF ARKANSAS

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                      CONS&.J\IT TO MODIFY COND1TIONSdpPLEASE

l~ Rebecca Spray. have di!iC'USSOO with, Pretrial SenticeslProhati€fl:t Officer. modification of my
release as follows:

UndergO' mental health C:vM~ and conlply
agency and the U.S. Probation OfflCe.




l have reviewed. the conditicms with my client a:nd concur that       iliTtodifieation is appropriate.

                                                          '3-       -/~




[1         The abovcmodifieation of conditions of release is      ordered.



 Signature of 1'1.1di:ciul Officer                        Date
